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                                        February 23, 2023

Via ECF

The Honorable Beth Labson Freeman
San Jose Courthouse
280 South 1st Street
San Jose, CA 95113

       Re:     Jones v. PGA Tour, Inc., Case No. 5:22-cv-04486-BLF (N.D. Cal.)

Dear Judge Freeman,

        I write on behalf of non-party Kingdom of Saudi Arabia (“Saudi Arabia”) regarding the
February 9, 2023 Order (“Order”) of Magistrate Judge Susan Van Keulen denying the motions to
quash subpoenas for documents and deposition testimony issued by defendant-counterclaim-
plaintiff PGA Tours, Inc. (“the PGA”) to non-parties the Public Investment Fund of the Kingdom
of Saudi Arabia (“PIF”) and its Governor, His Excellency Yasir Othman Al-Rumayyan
(“Governor Al-Rumayyan”). See ECF No. 265. Saudi Arabia understands that PIF and
Governor Al-Rumayyan intend to challenge aspects of the Order in the context of Fed. R. Civ. P.
72 objections to the Order and, potentially – if the PGA serves an amended counterclaim adding
PIF and Governor Al-Rumayyan as counterclaim-defendants – in the context of a motion to
dismiss the amended counterclaim. See ECF No. 280 (order granting the PGA’s motion to
amend its counterclaim).

        Saudi Arabia has a significant interest in the issues addressed by the Order. PIF is Saudi
Arabia’s sovereign wealth fund, established in 1971 by Royal Decree and regulated by the Saudi
Arabia’s Public Investment Fund Law. While the Magistrate Judge accepted that PIF is
presumptively immune from the jurisdiction of U.S. courts under the Foreign Sovereign
Immunities Act of 1976 (“FSIA”), 28 U.S.C. § 1602 et seq., she nonetheless relied on the FSIA’s
commercial-activity exception to assert jurisdiction over PIF. See Order at 10-24. She also
suggested that PIF would have waived its immunity under the FSIA if it authorized plaintiff-
counterclaim-defendant LIV Golf Inc., a separate legal entity, to file its lawsuit against the PGA.
See id. at 24-27. Her reasoning has broad implications for Saudi Arabia beyond the instant case.

       The Magistrate Judge further held that Governor Al-Rumayyan – who holds the rank of
Minister in Saudi Arabia’s government – met the threshold requirements for common-law
foreign official immunity, but determined that the common law recognizes a commercial-activity
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exception to foreign official immunity. See id. at 27-33. Recognition of such an exception to
common-law foreign official immunity likewise has wide-ranging implications for Saudi Arabia.

        Finally, the Magistrate Judge held that the Court could exercise personal jurisdiction over
both PIF and Governor Al-Rumayyan. See id. at 33-44. In the process, she found relevant that
Saudi Arabia itself had not yet expressed an interest in the outcome of the motion to quash or in
the specific information sought by the subpoenas. See id. at 42 (claiming that PIF and Governor
Al-Rumayyan “have not presented evidence that Saudi Arabia has expressed an interest in the
outcome of the current dispute or, more importantly, in the secrecy of the specific information
sought in the subpoenas prior to the litigation in question”). Yet at the same time, the Magistrate
Judge precluded PIF and Governor Al-Rumayyan from submitting evidence of Saudi law on
these issues. See id. at 8-9. Saudi Arabia intends to provide its views to the Court on all of these
matters.

        The Supreme Court “ha[s] long recognized the demands of comity in suits involving
foreign states, either as parties or as sovereigns with a coordinate interest in the litigation,” and
so has directed “American courts” to “take care to demonstrate due respect . . . for any sovereign
interest expressed by a foreign state.” Societe Nationale Industrielle Aerospatiale v. U.S. Dist.
Ct. for S. Dist. of Iowa, 482 U.S. 522, 546 (1987) (emphasis added). To that end, Saudi Arabia
intends to seek the Court’s leave to file an amicus brief expressing its views on issues raised by
the Order, including the interpretations of the commercial-activity and waiver exceptions to the
FSIA; the interpretation of the scope of common-law foreign official immunity; and the
weighing of Saudi Arabia’s interest – including in the enforcement of Saudi Arabian law – in the
personal-jurisdiction analysis.

        Because PGA allegedly is amending its counterclaim to add PIF and Governor Al-
Rumayyan as counterclaim-defendants, which could moot the current Rule 45 subpoenas, Saudi
Arabia seeks guidance from the Court on whether to seek leave to file its amicus brief in
connection with the Court’s review of the Rule 72 objections to the Order or in connection with
the future motion to dismiss that may be filed by PIF and Governor Al-Rumayyan. Saudi Arabia
submits that, as the Court has already recognized, “such issues are often more appropriately
raised in a motion to dismiss” and “would benefit from the more fulsome briefing of a motion to
dismiss.” ECF No. 280 at 5.
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                                        Respectfully submitted,

                                        /s/ Minsuk Han

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cc:   All Counsel of Record (via ECF)
